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 4 Entered on Docket
    October 18, 2019
___________________________________________________________________
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 7
      ANDERSEN LAW FIRM, LTD.                        WIGGAM & GEER, LLC
 8    RYAN A. ANDERSEN                               WILL B. GEER
      Nevada Bar No. 12321                           (Pro Hac Vice Application Pending)
 9
      E-mail: ryan@vegaslawfirm.legal                E-mail: wgeer@wiggamgeer.com
10    101 Convention Center Drive, Suite 600         50 Hurt Plaza, SE, Suite 1245
      Las Vegas, Nevada 89109                        Atlanta, Georgia 30303
11    Telephone: (702) 522-1992                      Telephone: (678) 587-8740
      Facsimile: (702) 825-2824                      Facsimile: (404) 287-2767
12
      Counsel for Edward Burdekin and National
13
      Store Retail Services, LLC
14
     In re:                                          Case No.: BK-S-19-15172-ABL
15   NATIONAL MERCHANDISING SERVICES,                Chapter 11
     LLC
16                                                   Jointly administered with:
            Affects this Debtor.
17                                                   Edward S. Burdekin, Case No. BK-S-15174-ABL; and
18          Affects all Debtors.                     National Store Retail Services, LLC,
                                                          Case No. BK-S-15175-ABL
19
            Affects Edward S. Burdekin.              ORDER GRANTING APPLICATION FOR
20
                                                     ENTRY OF AN ORDER AUTHORIZING
21                                                   THE EMPLOYMENT AND RETENTION
                                                     OF WIGGAM & GEER, LLC AS
22                                                   ATTORNEYS FOR THE DEBTOR-IN-
                                                     POSSESSION, NUNC PRO TUNC AS OF
23
          Affects National Store Retail Services,    THE PETITION DATE
24      LLC
                                                     Date: October 15, 2019
25                                                   Time: 9:30 a.m.
                                                     Place: 300 Las Vegas Blvd.
26                                                          Las Vegas, NV
                                                            Courtroom 1
27


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 1          The Court, having considered the Application for Entry of an Order Authorizing the

 2   Employment and Retention of Wiggam & Geer, LLC as Attorneys for the Debtor-In-Possession, Nunc

 3   Pro Tunc as of the Petition Date (“Application”), ECF No. 44, filed by Edward Steven Burdekin,

 4   (“Burdekin”), debtor and debtor-in-possession, and National Store Retail Services, LLC, a Georgia

 5   limited liability company, debtor and debtor-in-possession (“NSRS”, and, together with Burdekin, the

 6   “Debtors”); having considered the Declaration of Will B. Geer submitted in support of the Application

 7   (“Geer Declaration”); having conducted a hearing with respect to the Application on October 15, 2019

 8   at 9:30 a.m. Pacific time, with Will B. Geer of Wiggam & Geer, LLC. (“Geer Law Firm”) appearing

 9   on behalf of the Debtors and with other appearances as noted on the record of such hearing; having

10   found that the relief requested in the Application is in the best interest of the Debtors and their

11   bankruptcy estate; having found that this is a core matter within the meaning of 28 U.S.C. § 157; having

12   found that Geer Law Firm does not represent any interest adverse to the Debtors or its bankruptcy

13   estate with respect to the matters on which Geer Law Firm is to be employed and meets all requirements

14   for retention set forth in the Bankruptcy Code; having found the terms and conditions of Geer Law

15   Firm’s employment as further described in the Application reasonable; and having further stated its

16   findings of fact and conclusions of law on the record at the conclusion of the hearing, pursuant to Fed.

17   Rule Bankr. P. 7052, made applicable hereto by Fed. R. Bankr. P. 9014;

18          NOW THEREFORE, good cause appearing, the Court ORDERS as follows:

19          IT IS HEREBY ORDERED that the Application is GRANTED;

20          IT IS FURTHER ORDERED that pursuant to 11 U.S.C. §§ 327(a), 328, 329, and 331 and

21   Fed. R. Bank. P. 2014 and 2016, the Debtors are authorized to employ and retain Wiggam & Geer,

22   LLC, nunc pro tunc as of the Petition Date, to perform the services set forth in the Application;

23          IT IS FURTHER ORDERED that the hourly rates, billing structure, and retainer described in

24   the Application are hereby approved pursuant to 11 U.S.C. § 328, subject to adjustment according to

25   Geer Law Firm’s customary practices;

26          IT IS FURTHER ORDERED that the Debtors are not required to replenish any retainer held

27   by Geer Law Firm and will only be responsible for paying invoices following approval by the Court;


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 1           IT IS FURTHER ORDERED that this Order shall become effective immediately upon its

 2   entry, and;

 3           IT IS FURTHER ORDERED that this Court shall retain exclusive jurisdiction over the

 4   subject matter of this Order so that it may hear and determine all matters arising from or related to the

 5   implementation of and compliance with this Order.

 6

 7   Respectfully submitted by:

 8   WIGGAM & GEER, LLC

 9   By:     /s/ Will B. Geer
             Will B. Geer, Esq.
10           Georgia Bar No. 940493
11           50 Hurt Plaza, SE, Suite 1245
             Atlanta, Georgia 30303
12           wgeer@wiggamgeer.com
             T: 404-233-9800
13           F: 404-287-2767
14
     ANDERSEN LAW FIRM, LTD.
15
     By:     /s/ Ryan A. Andersen
16           Ryan A. Andersen, Esq.
             Nevada Bar No. 12321
17           Ani Biesiada, Esq.
             Nevada Bar No. 14347
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             101 Convention Center Drive
19           Suite 600
             Las Vegas, Nevada 89109
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     Counsel for Edward Steven Burdekin and
21   National Retail Store Services, LLC
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 1                                       LR 9021 CERTIFICATION
 2          In accordance with LR 9021, counsel submitting this document certifies that the order
 3   accurately reflects the court's ruling and that:

 4         The court has waived the requirement set forth in LR 9021(b)(1).

 5         No party appeared at the hearing or filed an objection to the motion.
 6         I have delivered a copy of this proposed order to all counsel who appeared at the hearing, and
 7          each has approved or disapproved the order, or failed to respond, as indicated below:
                   -   William M. Noall, Esq.: Approved
 8
                   -   Will B. Geer, Esq.: Approved
 9
           I certify that this is a case under Chapter 7 or 13, that I have served a copy of this order with
10
            the motion pursuant to LR 9014(g), and that no party has objected to the form or content of the
11          order.

12          I declare under penalty of perjury that the foregoing is true and correct.
13   Executed this 15th day of October, 2019.
14
                                                          By:     /s/ Will B. Geer
15                                                                Will B. Geer, Esq.
                                                                  Georgia Bar No. 940493
16                                                                WIGAM & GEER, LLC
                                                                  50 Hurt Plaza, SE, suite 1245
17                                                                Atlanta, Georgia 30303
18
                                                          Counsel for Edward Steven Burdekin
19                                                        and National Retail Store Services, LLC

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